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AO 245D (Rev 12/03) Judgment in a Cri minal Case for Revocations
         Sheet 1




                                      United States District Cour t
                                                     SOUTHERN DISTRICT OF GEORGIA
                                                         BRUNSWICK DIVISION

          UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                      V.                                                             (For Revocation of Probation or Supervised Release )



               Gerold Bacon                                                          Case Number:              CR298-00034-01 1

                                                                                                                                  w

                                                                                     J. Keith Pollette
                                                                                     Defendant's Attorne ,
THE DEFENDANT :
[X] admitted guilt to violation of a mandatory condition of the term of supervision .
[ ] was found in violation of condition(s) _ after denial of guilt .

The defendant is adjudicated guilty of these violations :

 Violation Number             Nature of Violatio n                                                                           Violation Ende d
            1 The defendant failed to refrain from unlawful use of a controlled substance                                      April 30, 200 7
                        (mandatory condition) .
            2 The defendant failed to refrain from unlawful use of a controlled substance                                        July 3, 200 7
                        (mandatory condition) .

         The defendant is sentenced as provided on page 2 of this judgment . The sentence is imposed pursuant to the Sentencing Reform
Act of 1984 .


[X] The defendant has not violated a standard condition and is discharged as to such violation condition .


         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid . If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances .


Defendant's Soc . Sec . No:

Defendant's Date of Birth :                       September 12, 197 3                        August 8, 200 7

                                                                                             Date of Imposition of Judgmen t



Defendant's Residence Address :
1618 Wilson Avenue                                                                           Signature of Judge
Brunswick, Georgia 3152 0



Defendant's Mailing Address :                                                                Judge, U .S. District Court
1618 Wilson Avenue                                                                           Name and Title of Judg e
Brunswick, Georgia 31520                                                                          ?- ` e-,07
                                                                                             Date
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        Sheet 1 A

DEFENDANT : Gerold Baco n
CASE NUMBER : CR298-00034-011



                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
         for a total term of. 5 months .

[ ] The Court makes the following recommendations to the Bureau of Prisons :


[X] The defendant is remanded to the custody of the United States Marshal .
[ ] The defendant shall surrender to the United States Marshal for this district ,

         [ ] at _ [ ] a.m. [ ] p.m. on
         [ ] as notified by the United States Marshal.


[ ] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons :


                before 2 p .m. on
         [ ] as notified by the United States Marshal .
         [ ] as notified by the Probation or Pretrial Services Office .
                                                                    RETURN
         I have executed this judgment as follows :




         Defendant delivered on t o
at with a certified copy of this judgment.




                                                                                     United States Marshal


                                                                             By
                                                                                  Deputy United States Marshal
